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                                                                         CASHBOND,CLOSED

                                U.S. District Court
                      Eastern District of Kentucky (Lexington)
                CRIMINAL DOCKET FOR CASE #: 5:21-mj-05209-MAS-1


Case title: USA v. Le Roux                                Date Filed: 06/22/2021
Other court case number: 21-mj-108-SKC District of        Date Terminated: 06/24/2021
                         Colorado

Assigned to: Magistrate Judge Matthew
A. Stinnett

Defendant (1)
Charl Le Roux                               represented by Brandon Wayne Marshall
TERMINATED: 06/24/2021                                     Nash Marshall, PLLC
                                                           129 W Short St
                                                           Lexington, KY 40507
                                                           859-254-3232
                                                           Fax: 859-225-4746
                                                           Email: bwmarshall@nashmarshall.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
18:1519.F - FALSIFICATION OF
RECORDS


Plaintiff




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USA                                            represented by Emily K. Greenfield , AUSA
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                                                              Email: Emily.Greenfield@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant U.S. Attorney

                                                               Ron L. Walker , Jr.
                                                               U.S. Attorney's Office, EDKY
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                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant U.S. Attorney


 Date Filed      #   Docket Text
 06/22/2021       1 SEALED COMPLAINT as to Charl Le Roux (1). (Attachments: # 1 Affidavit,
                    # 2 Information Sheet) (KJR) (Additional attachment(s) added on 7/1/2021: # 3
                    REDACTED Indictment) (KJR). (Entered: 06/22/2021)
 06/22/2021          Conflict Check run. (KJR) (Entered: 06/22/2021)
 06/22/2021          CLERK'S VIRTUAL NOTICE re: HEARING SCHEDULE as to Charl Le
                     Roux For a defendant in custody, defense counsel shall endeavor to meet with
                     their client prior to the hearing to discuss any and all issues to be raised at the
                     pending hearing. USMS shall, working with the relevant facility, ensure that
                     defense counsel has access to the defendant at reasonable times and for
                     reasonable periods. If this is not possible, a party may file a motion with the
                     Court seeking Court guidance, if needed. cc: COR, USM, USP,D. INITIAL
                     APPEARANCE - Rule 40 set for 6/23/2021 at 02:00 PM in LEXINGTON
                     before Magistrate Judge Matthew A. Stinnett.(KJR) (Entered: 06/22/2021)
 06/23/2021       4 MINUTE ENTRY for INITIAL APPEARANCE IN RULE 5(c)(3) Proceedings
                    as to Charl Le Roux held on 6/23/21 before Magistrate Judge Matthew A.
                    Stinnett:Brandon Marshal appeared as RETAINED counsel of record. (1) dft
                    shall be released to the 3rd party custody of Mark Joseph Dougherty upon
                    payment of the $100,000.00 bond; (2) the court finds probable cause to believe
                    that a crime has been committed & dft committed the offenses alleged in the
                    complaint; matter is bound over to the grand jury in the District of Colorado;
                    (3) dft released on conditions set forth in a separate order of release to appear in
                    District of Colorado on 7/7/21 at 2:00 pm (Tape #KYED-LEX__5-21-mj-5209-




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                     MAS_20210623_134310.) Signed by Magistrate Judge Matthew A. Stinnett.
                     (KJR)cc: COR,USM,USP (Entered: 06/23/2021)
 06/23/2021       5 ORDER Requiring Defendant to Appear in the District Where Charges are
                    Pending as to Charl Le Roux. Signed by Magistrate Judge Matthew A. Stinnett
                    on 6/23/21. (KJR)cc: COR,USM,USP (Entered: 06/23/2021)
 06/23/2021       6 ORDER Setting Conditions of Release as to Charl Le Roux: dft released on
                    Cash Bond. Signed by Magistrate Judge Matthew A. Stinnett on 6/23/21. (KJR)
                    cc: COR,USM,USP Modified text on 6/24/2021 (KJR). (Entered: 06/23/2021)
 06/23/2021       7 Appearance Bond Entered as to Charl Le Roux in amount of $ $100,000.00,
                    Receipt # 5032447. (Attachments: # 1 receipt)(KJR) (Entered: 06/23/2021)
 06/23/2021       8 SEALED Surety Information Sheet as to Charl Le Roux. (KJR) (Additional
                    attachment(s) added on 6/23/2021: # 1 SEALED Surety Identification) (KJR).
                    Modified text on 6/24/2021 (KJR). (Entered: 06/23/2021)
 06/23/2021       9 ORDER as to Charl Le Roux: that the Criminal Complaint, Affidavit & all
                    related docs (DE 1, 1-1 & 1-2) SHALL remain UNDER SEAL; the US shall
                    file appropriately redacted copies of the Complaint & Affidavit w/in 1 week.
                    Signed by Magistrate Judge Matthew A. Stinnett on 6/23/21. (KJR)cc:
                    COR,USM,USP. Modified text on 6/24/2021 (KJR). (Entered: 06/24/2021)
 06/23/2021     10 ORDER CLARIFYING CONDITIONS OF RELEASE as to Charl Le Roux: re
                   6 Order Setting Conditions of Release; Dft shall be released from custody
                   effective immediately, w/out any requirement that he submit to alternative
                   location monitoring (radio frequency, voice recognition, etc.) during the period
                   before a GPS monitoring unit becomes available. Upon GPS unit availability,
                   the USPO shall notify Dft he shall submit to GPS location monitoring as
                   directed by the USPO. Signed by Magistrate Judge Matthew A. Stinnett on
                   6/23/21. (KJR)cc: COR,USM,USP (Entered: 06/24/2021)
 06/24/2021     11 Notice FROM Kentucky Eastern TO District of Colorado of a Rule 5, Rule 32,
                   or Rule 40 Appearance as to Charl Le Roux. Your case number is: 21-MJ-108.
                   Docket sheet and documents attached. The KYED finance office will transmit
                   the bond and/or passport collected.
                   If you wish to designate a different email address for future transfers, send your
                   request to the national list host at
                   InterDistrictTransfer_TXND@txnd.uscourts.gov. cc: COR, USP, Finance
                   (KJR) (Entered: 06/24/2021)
 06/28/2021     12 JOINT MOTION to Modify Conditions of Release as to Charl Le Roux.
                   (Attachments: # 1 Proposed Order Modifying Release Conditions) (Marshall,
                   Brandon) (Entered: 06/28/2021)
 06/28/2021     13 ORDER as to Charl Le Roux: (1) GRANTING parties' 12 Joint Motion to
                   Modify Conditions of Release; (2) condition 7(d) prohibiting dft's possession of
                   a passport is SET ASIDE; (3) condition 7(d) is REPLACED as stated in this
                   order. Signed by Magistrate Judge Matthew A. Stinnett on 6/28/21. (KJR)cc:
                   COR,USM,USP (Entered: 06/28/2021)
 06/30/2021     14 MOTION for Order by USA to Substitute Redacted Documents as to Charl Le




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                     Roux. (Attachments: # 1 Proposed Order, # 2 Redacted Criminal Complaint and
                     Affidavit) (Greenfield, Emily) (Entered: 06/30/2021)
 06/30/2021     15 VIRTUAL ORDER as to Charl Le Roux: granting US' 14 Motion for Order to
                   Substitute Redacted Documents. Signed by Magistrate Judge Matthew A.
                   Stinnett on 06/30/2021. (MDC) cc: COR,USM,USP (Entered: 06/30/2021)



                                       PACER Service Center
                                         Transaction Receipt
                                            07/13/2021 18:05:41
                    PACER
                                   juga0175:4614669:0 Client Code:
                    Login:
                                                       Search        5:21-mj-05209-
                    Description:   Docket Report
                                                       Criteria:     MAS
                    Billable
                                   3                   Cost:         0.30
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